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                               UNITED STATES DISTRICT COURT
                                                         for the
                                                 Western District of Texas
                                                     Austin Division

                United States of America                       )
                           v.                                  )
                                                               )    Case No. 1:20-mj-830
                 Devonte Dashon Spears                         )
                        Defendant                              )

                                ORDER OF DETENTION PENDING TRIAL
                                             Part I - Eligibility for Detention
     On Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), the Court held a detention hearing and
found that detention is warranted. This order sets forth the Court ’s findings of fact and conclusions of law, as required by
18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.


                             Part II - Analysis and Statement of the Reasons for Detention

       After considering the factors set forth in 18 U.S.C. § 3142(g), the pretrial services report, and the evidence and
arguments of counsel presented at the detention hearing, the Court concludes that the defendant must be detained pending
trial because the Government has proven:

  X By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
    the safety of the community.

     By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
     the defendant’s appearance as required.

     In addition to any findings made on the record at the hearing, the reasons for detention include the following:

      X Weight of evidence against the defendant is strong
        Subject to lengthy period of incarceration if convicted
      X Prior criminal history
      X Participation in criminal activity while on probation, parole, or supervision
        History of violence or use of weapons
        History of alcohol or substance abuse
        Lack of stable employment
        Lack of stable residence
        Lack of financially responsible sureties
        Lack of significant community or family ties to this district
        Significant family or other ties outside the United States
        Lack of legal status in the United States
        Subject to removal or deportation after serving any period of incarceration
        Prior failure to appear in court as ordered
        Prior attempts to evade law enforcement
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           Use of alias(es) or false documents
           Background information unknown or unverified
         X Prior violations of probation, parole, or supervised release


                                           Other Reasons or Further Explanation:

        My decision is based on the identified factors. In addition, the nature and circumstances of the offense charged include

violence. Mr. Spears faces two state felony charges of aggravated assault causing serious bodily injury for allegedly firing

multiple gunshots outside a gas station. The firearm on which Mr. Spears’ federal charge is based was found in his car when

he was arrested nearly three weeks after the shooting. Mr. Spears also has a criminal history that includes probation

revocation and criminal activity while on probation. Considering all information available, the government has established

by clear and convincing evidence that release of Mr. Spears would pose a serious danger to the community, and that no

condition or combination of conditions of release will reasonably assure the safety of the community.




                                          Part IV - Directions Regarding Detention

      The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,
the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.


Date:       October 2, 2020
                                                                 Susan Hightower
                                                                 United States Magistrate Judge




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